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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                    Northern District
                                                  __________  DistrictofofCalifornia
                                                                           __________


                       ROBERT ROSS                                 )
                             Plaintiff                             )
                                v.                                 )      Case No.    3:16-cv-6669
         AT&T INC. and AT&T MOBILITY, LLC                          )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff Robert Ross                                                                                               .


Date:          10/17/2019                                                                 /s/ Andrew Calderon
                                                                                            Attorney’s signature


                                                                                 Andrew Calderon (SBN No. 316673)
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